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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,

          Plaintiff,                                   Civil Action No. 2:15-cv-1169-JRG-RSP
                                                       (Consolidated)
     v.

 ADAMS EXTRACT,                                        JURY TRIAL DEMANDED

          Defendant.                                   LEAD CASE


 SYMBOLOGY INNOVATIONS, LLC,

          Plaintiff,                                   Civil Action No. 2:15-cv-1864-JRG-RSP

     v.

 GENERAL MILLS, INC.,                                  JURY TRIAL DEMANDED

          Defendant.


           DEFENDANT GENERAL MILLS, INC.’S MOTION TO DISMISS
      PLAINTIFF’S INDIRECT INFRINGEMENT CLAIMS UNDER RULE 12(b)(6)

          Under Federal Rule of Civil Procedure 12(b)(6), Defendant General Mills, Inc.

 (“General Mills”) moves to dismiss certain claims of the Complaint of Plaintiff Symbology

 Innovations, LLC (“Symbology”). Because Symbology failed to allege sufficient facts to state

 claims of contributory infringement and inducement under the controlling standard, General

 Mills respectfully requests that the Court dismiss these claims.1

          The Federal Circuit clearly explained the pleading requirement for indirect infringement

 in In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1337, 1340

 (Fed. Cir. 2012) and Superior Indus., LLC v. Thor Glob. Enterprises Ltd., 700 F.3d 1295-96

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  Concurrent with and without prejudice to the present motion, General Mills will answer the allegations
 of the Complaint as they relate to direct infringement.
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 (Fed. Cir. 2012). “To state a claim for contributory infringement, therefore, a plaintiff must,

 among other things, plead facts that allow an inference that the components sold or offered for

 sale have no substantial non-infringing uses.” In re Bill of Lading, 681 F.3d at 1337; see also

 Superior Indus., 700 F.3d at 1296. Additionally, a plaintiff must plead facts that support a

 reasonable inference that the accused components are “especially made or especially adapted for

 use in an infringement of such patent.” Superior Indus., 700 F.3d at 1295-96; Core Wireless

 Licensing S.A.R.L. v. Apple Inc., No. 6:14-CV-752-JRG-JDL, 2015 WL 4910427, at *5 (E.D.

 Tex. Aug. 14, 2015).

        To state a claim for induced infringement, a plaintiff must, among other things, plead

 facts that allow an inference that the defendant “specifically intended [its] customers to infringe

 the . . . patent and knew that the customer’s acts constituted infringement.” In re Bill of Lading,

 681 F.3d at 1339.      “It is well-established that ‘naked assertions devoid of ‘further factual

 enhancement’ are insufficient to state a claim.” U.S. Ethernet Innovations, LLC v. Cirrus Logic,

 Inc., Case No. 6:12-CV-366 MHS-JDL, 2013 WL 8482270, at *4 (E.D. Tex. Mar. 6, 2013)

 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2010)).

 I.     SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
        CLAIM OF CONTRIBUTORY INFRINGEMENT

        Symbology states, without support, that “Defendant has infringed and continues to

 infringe [each of the patents-in-suit] either directly or indirectly through acts of contributory

 infringement . . . .” (Complaint, ¶¶ 13, 23, 33). The Complaint offers only the following factual

 allegations with respect to these claims:

        14.    On information and belief, Defendant has, at least through internal testing,
        made, used, and/or printed QR codes on printed and/or electronic media,
        including advertising and packaging, associated with select products and/or
        services. One specific example of Defendant’s activity involves the use of QR
        codes on packaging associated with its Betty Crocker® Low-Fat Fudge Brownie
        Mix product. A user scanning the QR Code is provided with information about
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         the product including, for example, recipes using the product. Upon being
         scanned, the QR code remotely transmits information regarding the product to the
         user via a device, such as a smart phone, for example. The use of QR codes in
         this manner infringes at least Claim 1 of the ‘752 Patent.

 (Id. at ¶ 14; see also id. at ¶¶ 24, 34).

         In violation of the clear rule of Bill of Lading, Symbology fails to allege facts that allow

 an inference that the components sold or offered for sale have no substantial non-infringing uses.

 681 F.3d at 1337.       The contributory infringement allegations are further deficient because

 Symbology does not even allege that any allegedly infringing component was especially made or

 especially adapted for infringement of the patents-in-suit let alone any facts that support an

 inference of the same. Superior Indus., 700 F.3d at 1295-96; Core Wireless Licensing, 2015 WL

 4910427, at *5.      As a result, Symbology’s claim of contributory infringement should be

 dismissed.

 II.     SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
         CLAIM OF INDUCED INFRINGEMENT

         Symbology similarly states, without support, that “Defendant has infringed and continues

 to infringe [each of the patents-in-suit] either directly or indirectly through acts of . . .

 inducement . . . .” (Complaint, ¶¶ 13, 23, 33). Again, in violation of Bill of Lading, Symbology

 failed to plead facts that allow an inference that General Mills specifically intended its customers

 to infringe the patents-in-suit and/or knew that its customer’s acts constituted infringement.

 Instead, the Complaint offers only the following factual allegations:

         14.    On information and belief, Defendant has, at least through internal testing,
         made, used, and/or printed QR codes on printed and/or electronic media,
         including advertising and packaging, associated with select products and/or
         services. One specific example of Defendant’s activity involves the use of QR
         codes on packaging associated with its Betty Crocker® Low-Fat Fudge Brownie
         Mix product. A user scanning the QR Code is provided with information about
         the product including, for example, recipes using the product. Upon being
         scanned, the QR code remotely transmits information regarding the product to the

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        user via a device, such as a smart phone, for example. The use of QR codes in
        this manner infringes at least Claim 1 of the ‘752 Patent.

 (Id. at ¶ 14; see also id. at ¶¶ 24, 34). Because Symbology alleges no facts about General Mills’

 knowledge or intent with regard to infringement by customers or other third parties, its claim of

 induced infringement should be dismissed.

 III.   CONCLUSION

        As set forth above, Symbology has failed to satisfy the pleading standard clearly

 articulated in Bill of Lading and, thus, should not be allowed to maintain its claims for

 contributory and induced infringement.      Accordingly, General Mills respectfully requests

 dismissal of those claims.



 Dated: January 26, 2016                   Respectfully submitted

                                           GREENBERG TRAURIG, LLP

                                           /s/ Allan A. Kassenoff
                                           Scott J. Bornstein
                                           Email: bornsteins@gtlaw.com
                                           Allan A. Kassenoff
                                           Email: kassenoffa@gtlaw.com
                                           Vimal M. Kapadia
                                           Email: kapadiav@gtlaw.com
                                           MetLife Building
                                           200 Park Avenue
                                           New York, NY 10166
                                           Telephone: (212) 801-9200
                                           Facsimile: (212) 801-6400

                                           COUNSEL FOR DEFENDANT
                                           General Mills, Inc.




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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who are deemed to have consented to electronic
 service are being served with a copy of this document via the Court’s CM/ECF system per Local
 Rule CV-5(a) on January 26, 2016. Any other counsel of record will be served by facsimile
 transmission and/or U.S. Mail.


                                                                    /s/ Allan A. Kassenoff
                                                                    Allan A. Kassenoff




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